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                                                             June 2, 2025

VIA ECF
Hon. Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Combs, 24-cr-542 (AS)

Dear Judge Subramanian:

       We write pursuant to the Court’s May 20, 2025 Order requiring that email correspondence
concerning evidentiary objections or applications for relief be docketed by the end of the week it
was originally sent. (ECF 342.) Accordingly, we are filing email correspondence from the defense.

                                                            Respectfully submitted,

                                                            /s/ Teny Geragos
                                                            Marc Agnifilo
                                                            Teny Geragos
                                                            Alexandra A.E. Shapiro
                                                            Jason A. Driscoll
                                                            Anna Estevao
                                                            Brian Steel
                                                            Nicole Westmoreland
                                                            Xavier Donaldson

cc:    All counsel (by ECF)
